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                        UNITED STATES BANKRUPTCY
                         DISTRICT OF SOUTH DAKOTA
                              CENTRAL DIVISION
******************************************************************************
In Re:                                   Case # 05-30027
SI TANKA UNIVERSITY,                      Chapter 11
Tax Id # xx- xxx1565,

      Debtor.
******************************************************************************
SI TANKA UNIVERSITY,                      ADVERSARY # 05-________

      Plaintiff,                                   COMPLAINT FOR
vs.                                                DECLARATORY RELIEF

UNITED STATES DEPARTMENT
OF THE INTERIOR, BUREAU OF
INDIAN AFFAIRS,

      Defendant.
******************************************************************************

       COMES NOW the Debtor, by and through its attorney of record, and prays for
declaratory relief as follows:

      1. Plaintiff is Debtor in possession in this Chapter 11 reorganization proceeding.

      2. This action is brought under 28 U.S.C. § 2201 for declaratory relief as to
         interpretation of statutes. This is a case of actual controversy. Debtor has no
         alternative remedy better or more effective tha n to seek declaratory relief.

      3. Debtor requests that the court determine whether Debtor is eligible for funding
         pursuant to the Tribally Controlled College or University Assistance Act, also known
         as public law 95-471. The Defendant has denied Debtor’s eligibility.

      4. This is a core proceeding pursuant to 28 U.S.C. 157(b)(2)(A) and (O), or in the
         alternative a related proceeding under 28 U.S.C. § 157(a). This matter also concerns
         property of the estate.

      5. Debtor is a tribally chartered institution of higher education chartered by and created
         by the Cheyenne River Sioux Tribe and chartered under tribal law on April 4, 1973.
         Debtor operates pursuant to tribal law.

      6. Debtor has enjoyed a long standing funding relationship with Defendant in
         accordance with public law 95-471. To qualify for 471 funding, Debtor must comply
         with 25 CFR §41 and 25 U.S.C. §1801 et seq., and § 1802-1815.
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7. The statutes require that:

       To be eligible for funding under the Tribally Controlled College or University
       Assistance Act, an institution, among other things, must be an institution of higher
       education, which includes meeting certain requirements about accreditation (25
       U.S.C. §1801(a)(4); 25 CFR §41.3(j)(2004)); be formally controlled, formally
       sanctioned, or charted by the governing body of an Indian Tribe or Tribes (25
       U.S.C. §1801(a)(4); 25 CFR §41.3(e)(2)(2004)); be the only such institution
       recognized with respect to any Tribe that formally controls, formally sanctions, or
       charters the institution (25 U.S.C. §1801(a)(4)); and have a majority – Indian
       student population, if the institution has been in operation for more than one (1)
       year (25 U.S.C. §1804(3); 25 CFR §41.4(c)(2004)).

8. To boil the statute down, the statute requires: accreditation; formal charter or sanction
   by a Tribe; requires the university to be the only institution recognized by the Tribe;
   and the Tribally recognized university must have a majority Indian student
   population. Debtor fully meets all these qualifications.

9. Debtor, operating at Eagle Butte, is the only institution that is formally chartered or
   sanctioned by the Cheyenne River Sioux Tribe.

10. When a South Dakota non-profit corporation was organized to purchase the Huron
    campus, Debtor requested that the Cheyenne River Sioux Tribe endorse the purchase
    and also sanction the Huron campus. The Tribe was originally supportive but before
    any documents were completed, the Tribe withdrew its support and endorsement.
    The Tribe has never sanctioned or approved the Huron campus entity. Debtor, and its
    operations at Eagle Butte, is the only formally sanctioned and chartered institution of
    higher education allowed by the Cheyenne River Sioux Tribe.

11. To meet all four statutory requirements, Debtor’s campus at Eagle Butte is accredited,
    sanctioned and chartered by the Tribe, is the only institution recognized by the Tribe
    and has over 90% majority/Indian student population, even though the requirement is
    only 50% plus one Indian majority to be eligible.

12. In approximately August of 2004, Debtor requested that Defendant provide a waiver
    of 471 regulations to allow the Huron Campus to receive funding for Native
    American students. The Defendant took the opportunity of Debtor’s request for a
    waiver to declare that Debtor must count all students at Eagle Butte Tribal College
    and all students at the state chartered Huron campus and Defendant concluded that
    Debtor failed to meet the fourth test of the statute, the majority/Indian student
    population test. Defendant refused to consider the fact that the Huron Campus was
    not sanctioned by the Tribe.

13. Based on Defendant’s interpretation of the statute, Defendant withdrew all 471
    funding. Since 471 funding is “retro funding”, based on the previous year, Debtor
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           lost eligibility for the 2004 - 2005 education year and would not qualify for the 2005 -
           2006 education year.

       14. Based on Defendant’s inappropriate interpretation of these statutes and the retro
           funding provisions, Debtor will not be eligible to receive 471 funding until the Fall of
           2006.

       15. Debtor needs 471 funding to provide necessary programs at the university. The
           outcome of this declaratory relief request has a direct impact on Debtor’s
           reorganization plan.

        WHEREFORE, Debtor prays that the Court declare the interpretation of the appropriate
statutes to the effect of Debtor’s eligibility for 471 funding, retroactive and proceeding, and for
such other and further relief as appropriate in the premises.


       Dated this 8th day of July, 2005.


                                             STUART, GERRY & SCHLIMGEN, PROF. LLC:


                                              By: /s/ Clair R. Gerry
                                                  Clair R. Gerry
                                                  Attorney for Debtor
                                                  507 W. 10th Street
                                                  PO Box 966
                                                  Sioux Falls, SD 57101-0966
                                                  Telephone: (605)336-6400
                                                  Fax: (605)336-6842
